83 F.3d 1041
    Medicare &amp; Medicaid Guide P 44,220DEACONESS HEALTH SERVICES CORPORATION, doing business asDeaconess Medical Center Central Campus, Appellee,v.Donna E. SHALALA, Secretary of Health and Human Services, Appellant.
    No. 95-4126EM.
    United States Court of Appeals,Eighth Circuit.
    Submitted May 16, 1996.Decided May 22, 1996.
    
      Scott McIntosh, argued, Washington, DC (Anthony J. Steinmeyer, on the brief), for appellant.
      Ronald N. Sutter, argued, Washington, DC, for appellee.
      Before McMILLIAN, FAGG, and MORRIS SHEPPARD ARNOLD, Circuit Judges.
      PER CURIAM.
    
    
      1
      Donna E. Shalala, Secretary of Health and Human Services, appeals the adverse grant of summary judgment by the district court in favor of Deaconess Health Services Corporation.   Deaconess Health Servs.  Corp. v. Shalala, 912 F.Supp. 438 (E.D.Mo.1995).   Having carefully reviewed the record and the parties' briefs, we conclude summary judgment was properly granted.   Our decision is guided by the Sixth Circuit's recent decision in Jewish Hosp., Inc. v. Secretary of Health &amp; Human Servs., 19 F.3d 270 (6th Cir.1994).   We thus affirm on the basis of the district court's thorough, well-reasoned opinion.   See 8th Cir.  R. 47B.
    
    